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                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                 MIAMI-DADE DIVISION

 In re:
                                                        Case Number: 2019-20216-AJC
 SOLANGEL M. BELLO                                      Chapter 13

       Debtor.
 ___________________________________/

DEBTOR’S MOTION TO REINSTATE CASE AND CONVERT CASE TO CHAPTER 7

          The Debtor, SOLANGEL M. BELLO, by and through undersigned counsel, pursuant to

Rule 60(b) of the Federal Rules of Civil Procedure made applicable by Rule 9024 of the Federal

Rules of Bankruptcy Procedure, files this Motion to Reinstate Case and Convert Case to a

Chapter 7 Case, and avers:

          1.    This case was filed as a Chapter 13 bankruptcy on July 31, 2019.

          2.    The case was dismissed on May 5, 2022 due to the Debtor’s failure to remain

current with the plan payments.

          3.    The Debtor wishes to convert her case to a Chapter 7 because she does not have

the ability to make Chapter 13 plan payments.

          4.    The Debtor respectfully requests that the court enter an order reinstating the

Chapter 13 case and converting the case to a Chapter 7.

          WHEREFORE, the Debtor, SOLANGEL M. BELLO, seeks the relief sought in this

motion and for any other relief deemed just and proper in the circumstances
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                            CERTIFICATE PURSUANT TO LOCAL RULE 9011-4(B)

          I HEREBY CERTIFY that I am admitted to the Bar of the United States District Court for the Southern
District of Florida and I am in compliance with the additional qualifications to practice in this Court set forth in
Local Rule 2090-1(A).

                                       CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing was sent via
CM/ECF to all parties registered to receive electronic service and via Regular US Mail to all
parties on the attached service list on June 2, 2022.


                                                            KINGCADE & GARCIA, P.A
                                                            Counsel for the Debtor
                                                            Kingcade Building
                                                            1370 Coral Way ▪ Miami, Florida 33145-2960
                                                            WWW.MIAMIBANKRUPTCY.COM
                                                            Telephone: 305-285-9100 ▪ Facsimile: 305-285-9542

                                                            /s/ Timothy S. Kingcade___________
                                                            x Timothy S. Kingcade, Esq., FBN 082309
                                                               Jessica L. McMaken, Esq., FBN 580163
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Label Matrix for local noticing                SELECT PORTFOLIO SERVICING, INC.                Specialized Loan Servicing LLC
113C-1                                         PO Box 65250                                    6200 S. Quebec Street
Case 19-20216-AJC                              Salt Lake City, UT 84165-0250                   Greenwood Village, CO 80111-4720
Southern District of Florida
Miami
Thu Jun 2 14:25:03 EDT 2022
Specialized Loan Servicing LLC                 Synchrony Bank                                  U.S. Bank Trust, N.A., as Trustee for LSRMF
P.O. Box 5703                                  PRA Receivables Management, LLC                 Caliber Home Loans, Inc
Clearwater, FL 33758-5703                      PO Box 41021                                    13801 Wireless Way
                                               Norfolk, VA 23541-1021                          Oklahoma City, OK 73134-2500


Albertlli Law                                  Amex                                            Amex
PO Box 23028                                   Correspondence/Bankruptcy                       Po Box 297871
Tampa, FL 33623-2028                           Po Box 981540                                   Fort Lauderdale, FL 33329-7871
                                               El Paso, TX 79998-1540


Bank of America                                (p)BANK OF AMERICA                              Bank of America
4909 Savarese Cir                              PO BOX 982238                                   Attn: Bankruptcy
Tampa, FL 33634-2413                           EL PASO TX 79998-2238                           Po Box 982238
                                                                                               El Paso, TX 79998-2238


Bank of America, N.A.                          Bank of America, NA                             (p)CAPITAL ONE
C/O Lance Forman, Esq.                         Aldridge Pite, LLP                              PO BOX 30285
1615 South Congress Avenue, Suite 200          3375 Piedmont Road, NE Suite 500                SALT LAKE CITY UT 84130-0285
Delray Beach, FL 33445-6326                    Atlanta, GA 30305


Capital One                                    Capital One Bank (USA), N.A.                    Checksystems
Attn: Bankruptcy                               by American InfoSource as agent                 7805 Hudson Rd
Po Box 30285                                   PO Box 71083                                    Saint Paul, MN 55125-1703
Salt Lake City, UT 84130-0285                  Charlotte, NC 28272-1083


Child Support Enforcemment                     Comenity Bank/beallsol                          Comenity Bank/beallsol
PO Box 8030                                    Attn: Bankruptcy                                Po Box 182789
Tallahassee, FL 32314-8030                     Po Box 182125                                   Columbus, OH 43218-2789
                                               Columbus, OH 43218-2125


Credit One Bank                                Credit One Bank                                 (p)INTERNAL REVENUE SERVICE
Attn: Bankruptcy Department                    Po Box 98875                                    CENTRALIZED INSOLVENCY OPERATIONS
Po Box 98873                                   Las Vegas, NV 89193-8875                        PO BOX 7346
Las Vegas, NV 89193-8873                                                                       PHILADELPHIA PA 19101-7346


Equifax                                        Experian                                        Fingerhut
Po Box 740241                                  Po Box 2002                                     6250 Ridgewood Road
Atlanta, GA 30374-0241                         Allen, TX 75013-2002                            Saint Cloud, MN 56303-0820



(p)JEFFERSON CAPITAL SYSTEMS LLC               First Federal Credit & Collections              First Federal Credit & Collections
PO BOX 7999                                    5821 Hollywood Blvd Ste                         Po Box 813787
SAINT CLOUD MN 56302-7999                      Hollywood, FL 33021-6327                        Hollywood, FL 33081-3787
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First PREMIER Bank                            First PREMIER Bank                            Florida Department Of Revenue
601 S Minnesota Ave                           Attn: Bankruptcy                              5050 W Tennessee St
Sioux Falls, SD 57104-4868                    Po Box 5524                                   Tallahassee, FL 32399-0100
                                              Sioux Falls, SD 57117-5524


IRS Centralized Bankruptcy Department         Inphynet South Broward, LLC                   MERRICK BANK
PO Box 7346                                   PO Box 1123                                   Resurgent Capital Services
Philadelphia, PA 19101-7346                   Minneapolis, MN 55440-1123                    PO Box 10368
                                                                                            Greenville, SC 29603-0368


Merrick Bank/CardWorks                        Merrick Bank/CardWorks                        Midland Funding
Attn: Bankruptcy                              Po Box 9201                                   2365 Northside Dr Ste 300
Po Box 9201                                   Old Bethpage, NY 11804-9001                   San Diego, CA 92108-2710
Old Bethpage, NY 11804-9001


Midland Funding                               Midland Funding LLC                           Mobiloans, LLC
320 East Big Beaver                           PO Box 2011                                   Attn: Bankruptcy
Troy, MI 48083-1238                           Warren, MI 48090-2011                         Po Box 1409
                                                                                            Marksville, LA 71351-1409


Mobiloans, LLC                                Mr. Cooper                                    Mr. Cooper
Po Box 1409                                   350 Highland                                  8950 Cypress Waters Blvd
Marksville, LA 71351-1409                     Houston, TX 77009-6623                        Dallas, TX 75019-4620



Mr. Cooper                                    (p)NATIONSTAR MORTGAGE LLC                    Nationstar Mortgage LLC d/b/a Mr. Cooper
Attn: Bankruptcy                              PO BOX 619096                                 Attention: Bankruptcy Department
8950 Cypress Waters Blvd                      DALLAS TX 75261-9096                          PO Box 619096
Coppell, TX 75019-4620                                                                      Dallas, Texas 75261-9096


Office of the US Trustee                      Premier Bankcard, Llc                         Quantum3 Group LLC as agent for
51 S.W. 1st Ave.                              Jefferson Capital Systems LLC Assignee        CF Medical LLC
Suite 1204                                    Po Box 7999                                   PO Box 788
Miami, FL 33130-1614                          Saint Cloud Mn 56302-7999                     Kirkland, WA 98083-0788


Quantum3 Group LLC as agent for               River Valley Agcredit                         Specialized Loan Servicing LLC
Comenity Bank                                 408 E Broadway                                8742 Lucent Blvd, Suite 300
PO Box 788                                    Mayfield, KY 42066-2406                       Highlands Ranch, Colorado 80129-2386
Kirkland, WA 98083-0788


Synchrony Bank/Gap                            Synchrony Bank/Gap                            TD Bank USA
Attn: Bankruptcy Dept                         Po Box 965005                                 C/O President or Vice President
Po Box 965060                                 Orlando, FL 32896-5005                        2035 Limeston Road
Orlando, FL 32896-5060                                                                      Wilmington, DE 19808-5529


TD Bank USA, N.A                              The Padron Law Group, PL                      The Padron Law Group, PL
3701 Wayzata Blvd                             135 San Lorenzo Ave, Ste 650                  C/O Luis M. Padron, Esq
Minneapolis, MN 55416-3440                    Miami, FL 33146-1526                          135 San Lorenzo Ave, Ste 650
                                                                                            Miami, FL 33146-1526
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Town of Miami Lakes                                  Transunion                                           U.S. Bank National Association, as Trustee,
C/O Lorenzo Cobiella, Esq.                           Po Box 1000                                          Serviced by Select Portfolio Servicing,
Gastesi & Associates, PA                             Chester, PA 19016-1000                               PO Box 65250
8105 NW 155th Street                                                                                      Salt Lake City, UT 84165-0250
Hialeah, FL 33016-5872

U.S. Bank Trust, N.A.,                               U.S. Bank Trust, N.A., as Trustee et al              Westlake Financial Services
 Caliber Home Loans, Inc.                            CALIBER HOME LOANS, INC.                             4751 Wilshire Bvld
 13801 Wireless Way                                  13801 WIRELESS WAY                                   Los Angeles, CA 90010-3847
 Oklahoma City, OK 73134-2500                        OKLAHOMA CITY OK 73134-2500


Westlake Financial Services                          Nancy K. Neidich                                     Solangel M Bello
Attn: Bankruptcy                                     www.ch13miami.com                                    16424 NW 77th Path
Po Box 76809                                         POB 279806                                           Miami Lakes, FL 33016-8414
Los Angeles, CA 90076-0809                           Miramar, FL 33027-9806


Timothy S Kingcade Esq                               Tony Roca
1370 Coral Way                                       The Roca Law Firm, P.A.
Miami, FL 33145-2960                                 6303 Blue Lagoon Drive
                                                     Suite 400
                                                     Miami, FL 33126-6040



                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Bank of America                                      Capital One                                          Department of the Treasury
Attention: Recovery Department                       15000 Capital One Dr                                 Po Box 21126
4161 Piedmont Pkwy                                   Richmond, VA 23238                                   Philadelphia, PA 19114
Greensboro, NC 27410


Fingerhut                                            Nationstar Mortgage LLC
Attn: Bankruptcy                                     350 Highland Dr
Po Box 1250                                          Lewisville, TX 75067
Saint Cloud, MN 56395




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Bank of America, N.A.                             (u)Nationstar Mortgage LLC d/b/a Mr. Cooper          (u)U.S. Bank Trust, N.A., as Trustee for LSRM




(u)Miami                                             End of Label Matrix
                                                     Mailable recipients      70
                                                     Bypassed recipients       4
                                                     Total                    74
